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 5
                                UNITED STATES DISTRICT COURT
 6                             EASTERN DISTRICT OF CALIFORNIA

 7
     UNITED STATES OF AMERICA,             )           Case No. 1:06CR00299 AWI
 8                                         )
                       Plaintiff,          )           STIPULATION AND ORDER
 9                                         )           CONTINUING HEARING ON
     v.                                    )           MOTIONS IN LIMINE
10                                         )
     ANTHONY BLAINE HUNT,                  )
11                                         )
                       Defendant.          )
12                                         )
     _____________________________________ )
13
              The Defendant, ANTHONY BLAINE HUNT, and the Government stipulate as follows:
14
              1.    To continue the date for hearing on Motions in Limine to Monday, September 17,
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     2007;
16
              2.    The Government shall have one additional week from the current due date to file
17
     responses to Defense Motions in Limine.
18

19
     Dated:         September 6, 2007    /s/
20                                       DALE A. BLICKENSTAFF
                                         Attorney for Defendant, ANTHONY BLAINE HUNT
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22
     Dated:         September 6, 2007    /s/
23                                       STANLEY A. BOONE
                                         Assistant U. S. Attorney
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     STIPULATION AND ORDER CONTINUING HEARING ON MOTIONS IN LIMINE - Case No. 1:06CR00299 AWI
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 1                                              ORDER

 2
            IT IS HEREBY ORDERED that the new hearing date on Motions in Limine for Defendant,
 3
     ANTHONY BLAINE HUNT, only, is Monday, September 17, 2007, at 9:00 a.m. The Government’s
 4
     Responses to Defense Motions in Limine are due one week from the current due date.
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 6
     IT IS SO ORDERED.
 7
     Dated:    September 6, 2007                     /s/ Anthony W. Ishii
 8   0m8i78                                    UNITED STATES DISTRICT JUDGE

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     STIPULATION AND ORDER CONTINUING HEARING ON MOTIONS IN LIMINE - Case No. 1:06CR00299 AWI
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